Dear Dr. Mallory:
This letter is in response to your request for our review and certification of the State Board of Education's "Three-Year Interim State Plan for Vocational Rehabilitation Services under Section 101 of the Rehabilitation Act of 1973, as amended."
Our review has taken into consideration the Rehabilitation Act of 1973, as amended, 29 U.S.C. § 701, et seq., and the regulations promulgated pursuant thereto, 45 C.F.R. §§ 1361,et seq. In addition, we have taken into consideration ArticleIII, Section 38(a), Missouri Constitution; Chapter 161, RSMo 1978, and Sections 178.590-178.630, RSMo 1978.
Based on the foregoing, we hereby certify that the Missouri State Board of Education is the state agency administering or supervising the administration of education and vocational education in the state of Missouri and is, therefore, qualified to be "the sole State agency to administer the State plan, or to supervise its administration in a political subdivision of the State by a sole local agency . . ." in accordance with the provisions of 45 C.F.R. § 1361.6.
Very truly yours,
                                  JOHN ASHCROFT Attorney General